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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 23-1157                                                     September Term, 2022
                                                                              EPA-88FR36654
                                                       Filed On: July 17, 2023 [2008222]
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                   Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                   Respondents


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Consolidated with 23-1183

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be consolidated.
Petitioner(s) in case No(s). 23-1183 are directed to file the following document(s) by the
indicated date(s):

          Docketing Statement Form                                      August 16, 2023
          Statement of Issues to be Raised                              August 16, 2023

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Amanda Himes
                                                              Deputy Clerk

The following forms and notices are available on the Court's website:

         Agency Docketing Statement Form
